                                           Case 18-24514                  Doc 3     Filed 11/01/18           Page 1 of 2


 Fill in this information to identify your case:

 Debtor 1                 Jason Randall Minard
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                 Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         BMW Financial Services                                Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of 2014 BMW 535 xi 108000 miles                              Reaffirmation Agreement.
    property       Location: 721 Great Heron                                 Retain the property and [explain]:
    securing debt: Drive, Edgewater MD 21037



    Creditor's         Tower Federal Credit Union                            Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of 2011 Mini Cooper 62000 miles                              Reaffirmation Agreement.
    property       Location: 721 Great Heron                                 Retain the property and [explain]:
    securing debt: Drive, Edgewater MD 21037



    Creditor's         Wells Fargo Home Mortgage                             Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of       721 Great Heron Drive                               Reaffirmation Agreement.
                         Edgewater, MD 21037 Anne
                         Arundel County

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 1

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                                           Case 18-24514               Doc 3       Filed 11/01/18            Page 2 of 2


 Debtor 1      Jason Randall Minard                                                                   Case number (if known)


     property           Deed of Sarah Minard (Ex-Wife),                     Retain the property and [explain]:
     securing debt:     unrecorded

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jason Randall Minard                                                     X
       Jason Randall Minard                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date        October 26, 2018                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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